                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

GEORGIA REPUBLICAN PARTY,
INC., NATIONAL REPUBLICAN
SENATORIAL COMMITTEE, PERDUE
FOR SENATE, and GEORGIANS FOR                        Civil Action No.
KELLY LOEFFLER                                       ____________

                          Plaintiffs,

       v.
BRAD RAFFENSPERGER, in his official
capacity as the Secretary of State of
Georgia, REBECCA N. SULLIVAN, in
her official capacity as the Vice Chair of
the State Election Board, DAVID J
WORLEY, MATTHEW MASHBURN,
and ANH LE, in their official capacity as
Members of the State Election Board,

                          Defendants.



       PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY
       RESTRAINING ORDER AND PRELIMINARY INJUNCTION

      Plaintiffs, by counsel, hereby file this Emergency Motion for Temporary

Restraining Order and Preliminary Injunction. In support hereof, Plaintiffs state as

follows:

      1.     As set forth in Plaintiffs’ Verified Complaint [Doc. 1], the upcoming

run-off elections in Georgia for both of Georgia’s U.S. Senate seats is of the utmost
importance to citizens Georgia and the entire country.              However, serious

constitutional flaws exist in the process for verifying absentee ballot signatures.

      2.     Plaintiffs’ filed the Verified Complaint to seek emergency and

immediate relief to remedy these constitutional flaws because county clerks will start

processing absentee ballots on December 21, 2020 for the runoff elections. The

purpose of this Emergency Motion is to seek the Court’s urgent review and

determination of the injunctive relief sought in the Verified Complaint.

      3.     Local Rule 7.2(B) provides “the Court may waive time requirements of

this rule and grant an immediate hearing on any matter requiring such expedited

procedure.” Further, Local Rule 65.2 specifically pertaining to injunctions and

restraining orders contains a similar procedure allowing for the Court to waive the

normal time requirements for such motions if a party so requests “[u]pon written

motion and good cause shown.”

      4.     There is ample good cause to support Plaintiffs’ request for emergency

relief and for this Court to waive the normal time requirements and grant an

immediate hearing on Plaintiffs’ Emergency Motion. First, this matter is of the

utmost urgency and importance in that absentee ballots will begin to be processed in

eleven (11) days. Without immediate review of Plaintiffs’ Emergency Motion, the

integrity and reliability of the process for determining validly counted ballots in this

critical runoff election will be jeopardized.


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      5.      Second, Plaintiffs are likely to prevail on the merits of their claims and

the injunctive relief sought in the Verified Complaint. The constitutional issues and

flaws of Georgia’s absentee ballot process will irreparably harm the rights of

Georgia’s electors if not corrected by this Court. The changes to that process, as

further detailed in the Verified Complaint and Plaintiffs’ Motion for a Temporary

Restraining Order and a Preliminary Injunction and Incorporated Memorandum of

Law (“Plaintiffs’ Memorandum”) filed contemporaneously with this Emergency

Motion, are narrowly tailored to address and remedy the constitutional rights of

Georgia electors and the candidates for Georgia’s two U.S. Senate seats.

      6.      Plaintiffs, by counsel, pursuant to Local Rule 7.5(B), have provided a

copy of this Emergency Motion and Plaintiff’s Memorandum to Defendants

contemporaneous with the filing of this motion.

      WHEREFORE, Plaintiffs respectfully request the Court grant this Emergency

Motion, waive the time requirements under the Local Rules, and grant an immediate

hearing on Plaintiffs’ request for a temporary restraining order and preliminary

injunction.




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Respectfully submitted this 10th day of December, 2020.

                                   /s/ Peter N. Farley
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                                   Counsel for Plaintiffs



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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing Plaintiffs’ Emergency Motion for

Temporary Restraining Order and Preliminary Injunction has been prepared in

accordance with the font type and margin requirements of L.R. 5.1, NDGa, using

font type of Times New Roman and a point size of 14.

Dated: December 10, 2020

                                                 Counsel for Plaintiffs

                                                 /s/ Peter N. Farley




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day caused the foregoing in the above-

captioned matter to be filed with the United States District Court for the Northern

District of Georgia, Atlanta Division, via the Court’s CM-ECF system. I also

hereby certify that I caused the foregoing in the above-captioned matter to be

served, via email on December 10, 2020 and by hand delivery on December 11,

2020, upon:

      Secretary of State Brad Raffensperger
      214 State Capitol
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      brad@sos.ga.gov
      soscontact@sos.ga.gov

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